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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
GRACIELA DONCOUSE,                                                  DOC #:
                                                                    DATE FILED: 6/9/2025
                              Plaintiff,

               -against-                                                25 Civ. 4741 (AT) (BCM)

COLORFUL NATALIE NY LLC, and HAROLD                                              ORDER
S. NATHAN,

                        Defendants.
ANALISA TORRES, District Judge:

        To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster
disposition of this matter, it is hereby ORDERED that the parties discuss whether they are willing to
consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the assigned
Magistrate Judge.

        If all parties consent to proceed before the Magistrate Judge, counsel for Defendants shall, by
August 25, 2025, file a fully executed Notice, Consent, and Reference of a Civil Action to a
Magistrate Judge form, available at https://nysd.uscourts.gov/node/754 and attached to this order, on
the docket. If the Court approves that form, all further proceedings will then be conducted before the
assigned Magistrate Judge rather than before me. An information sheet on proceedings before
magistrate judges is also attached to this order. Any appeal would be taken directly to the United
States Court of Appeals for the Second Circuit, as it would be if the consent form were not signed and
so ordered.

        If any party does not consent to conducting all further proceedings before the assigned
Magistrate Judge, the parties must file a joint letter, by August 25, 2025, advising the Court that the
parties do not consent, but without disclosing the identity of the party or parties who do not
consent. The parties are free to withhold consent without negative consequences.

       SO ORDERED.

Dated: June 9, 2025
       New York, New York
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